Case 3:00-cv-02377-N Document 7 Filed 12/07/00 Pageiof2 PagelD8&
ORDER Jos AS
Re: Pending Cases Before Judge Lynn

If a Scheduling Order has been entered in your case prior to December 1, 2000, the
amendments to Rule 26(a)(1) shall not be applicable and you shall not be required to make the
disclosures required therein.

SO ORDERED.

 

 

3ARBARA M.G.L
TED STATES DISPRICT JUDGE

 

US. DISTRICT COURT ;
NORTHERN DISTRICT OF TEXAS = |

FILED

 

DEC -7 20

 

 

 

 

 

 

 

ENTERED ON DOCKET

 

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US DISTRICT CLERK'S OFFICE
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3:00-CV-2296-M
3:00-CV-2308-M
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3:00-CV-2378-M
3:00-CV-2380-M
3:00-CV-2401-M
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Case Style

National Satellite Sports v. Ana Trevino
Henry v. Kaufman County Sheriff Dept.
Roberson v. Thomas, et al.

U.S.A. v. Ellis

Reed v. Sewer-Matic Encor. Service, et al.
Herman v. Jos Steel Company, et al.
Trimble v. Johnson

Bank of America v. Davis, et al.

Burkins v. Rudloff, et al.

@Track Comm. v. Tekelec, et al.
Williams v. GTE

Quilling v. Conway, et al.

Clade Enterprises et al v. Ruth U Fertel Inc.
Hendrick v. MJCDA Intl.

Wright v. Cygnet Financial

Kapaoustin, et al. v. Natl Specialized Invest.
Kilgore v. Sprint Spectrum, L.P.

Maynard, et al. v. State Farm Lloyds
Beeler v. Rounsavall

Garay v. Johnson

Rand Energy v. Del Mar Drilling Company
Haynes v. Phycor of Irving

Murchison v. DISD, et al.

American Factors Corp. v. ABC Janitorial
Marshall, Jr. v. Metropolitan Life Ins. Co.
Turner v. Johnson

Johnson v. Apfel

Hollaway v. Johnson

Comer v. Gates of Cedar Hill

USA v. Rincon

USA v. Rashidi

Leonard v. Johnson

Sargent v. Vanguard Plastics

Watts v. Johnson

Johnson v. DART

Fourner v. Winstar Wireless Inc.

North Texas Soccer Assoc. v. Colonia Ins.
Management Insights v. CIC Enterprises
State Farm Life v. Ivey, et al.
Scandinavian Oil v. Kondos, et al.
